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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 18-150 (DWF/HB)

 UNITED STATES OF AMERICA,
                                                    NOTICE OF THE
                       Plaintiff,                   GOVERNMENT’S INTENT TO
                                                    INTRODUCE EVIDENCE
         v.                                         PURSUANT TO FEDERAL RULE
                                                    OF EVIDENCE 404(b)
 MICHAEL HARI,

                       Defendant.

         The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Assistant United States Attorneys

John Docherty, Julie E. Allyn, and Allison Ethen, hereby gives notice of the United States’

intent to introduce evidence pursuant to Rule 404(b) of the Federal Rules of Evidence at

the trial of this case. The government will submit argument in support of the admission of

the Rule 404(b) evidence in its trial brief in this matter. The trial brief is due on Thursday,

February 6, 2020. The majority of discovery related to potential Rule 404(b) evidence has

been disclosed to the defense, and some additional information will be forthcoming in the

very near future.

                                    RULE 404(b) EVIDENCE

         The evidence described below is admissible under Fed. R. Evid. 404(b) to show

intent, motive, preparation, plan, modus operandi, knowledge, the organized nature of the

White Rabbit militia, and the leadership role played by of defendant Hari in that militia

group.
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       1.     The government will introduce evidence of the attempted bombing, on

November 7, 2017, of the Women’s Health Practice, located in Champaign, Illinois. The

Women’s Health Practice was a clinic offering various medical services, including

abortion.   The bombing was perpetrated by defendant Hari, together with Michael

McWhorter, Joe Morris, and others.

       2.     The government will introduce evidence that on or about December 4, 2017,

defendant Hari, together with co-defendants and fellow White Rabbit members Michael

McWhorter and Joe Morris, perpetrated an armed robbery of a Wal-Mart store in Watseka,

Illinois. The motive for the armed robbery was that defendant Hari believed Wal-Mart

funded Antifa, and to fund the White Rabbit militia.

       3.     The government will introduce evidence that on or about December 16, 2017,

defendant Hari, together with Michael McWhorter, Joe Morris, and others, invaded a home

in Ambia, Indiana and robbed the occupants at gunpoint. The motive for the home invasion

was that defendant Hari believed the occupants of the home to be persons present in the

United States in violation of the immigration laws of the United States, and to be dealers

in narcotic drugs. The home invasion was also motivated by a desire to fund the White

Rabbit militia.

       4.     The government will introduce evidence that on or about December 17, 2017,

defendant Hari, together with Michael McWhorter, Joe Morris, and others, attempted to

perpetrate an armed robbery of a Wal-Mart store in Mount Vernon, Illinois. The motive

for the armed robbery was that defendant Hari believed Wal-Mart funded Antifa, and to

fund the White Rabbit militia.

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       5.     The government will introduce evidence that on or about January 17, 2018

near Effingham, Illinois, defendant Hari, together with Joe Morris and Michael

McWhorter, used an incendiary device to vandalize a segment of railroad track used by the

Canadian National Railway. Hari then anonymously communicated to the Canadian

National Railway the threat that unless the railway paid them a certain sum of a digital

currency, further attacks would take place.

                                INTRINSIC EVIDENCE

       Rule 404(b) does not encompass acts which are “intrinsic” to the charged offense.

Fed. R. Evid. 404 Advisory Committee’s Notes, 1991 Amendments. If conduct of the

defendant is an “intrinsic” part of the charged offense, but could otherwise be considered

a “bad act,” then Rule 404(b) does not contemplate that notice of such evidence be given.

The distinction is an important one as the defendant may claim the government must give

notice of every “bad act” it intends to introduce, which is not correct. United States v.

Adediran, 26 F.3d 61, 63 (8th Cir. 1994) (standards applicable to evidence considered

under Rule 404(b) do not apply to such “inextricably intertwined” evidence).            The

government will introduce evidence of several acts that are intrinsic to the offenses

charged. Although the Government believes the evidence is intrinsic, the government

provides notice of its intent to offer the following evidence in its case-in-chief out of an

abundance of caution.

       1.     This case involves a domestic terrorist organization, a militia. It was the

nature of this militia that its members possessed firearms, including fully automatic

firearms (as well as other weapons), and there will be evidence that the White Rabbits had

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firearms. Part of this will be evidence that defendant Hari, between July 2017 and March

2018, possessed firearms, and that on occasion the firearms Hari possessed were fully

automatic. Michael McWhorter will testify that on the drive from Illinois to Dar al-Farooq,

he saw AR-15 style rifles in the cab of the Nissan Frontier, and that he later fired one of

those weapons in fully automatic mode. Also, defendant Hari converted semi-automatic

rifles into fully automatic rifles in the garage of his parents’ home in Paxton, Illinois, and

Hari and other members of the White Rabbits then fired those weapons in fully automatic

mode in a field outside Paxton. With certain narrow exceptions, none of which applies in

this case, it is illegal to possess fully automatic firearms. It is illegal for defendant Hari to

possess any firearms at all, because he is a convicted felon. Hari’s status as a felon does

not move testimony about his possession of firearms into the category of Rule 404(b)

evidence. Testimony about firearms remains straightforward testimony chronicling the

activities of this militia group.

       3.      It was also the nature of this militia that its members frequently discussed

possible attacks and future crimes. Testimony that recounts what the White Rabbits were

doing on a particular day, or during a particular event, will involve a recounting of those

plots, and testimony about those plots should not be foreclosed. For example, during the

trip that defendants Hari, Morris, and McWhorter took to Minnesota to bomb the Dar al-

Farooq mosque, defendant Hari also proposed to the group that they attack the Planned

Parenthood location in Saint Paul, Minnesota. Defendant Hari also proposed going to

Missouri on the way back to Illinois from Minnesota to rob a branch of the Bank of

America, because Hari associated the Bank of America with George Soros. Neither idea

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was put into action, but Morris and McWhorter may testify about these discussions. Also,

by showing that Hari selected the targets for attack, this evidence is important to establish

Hari’s leadership of the White Rabbit militia.

 EVIDENCE INDEPENDENTLY ADMISSIBLE TO SHOW CONSCIOUSNESS
                         OF GUILT

       As evidence of consciousness of guilt, the government will introduce evidence that

defendant Hari fled from law enforcement on one occasion, attempted to escape from

custody on another, and attempted to frame his neighbors in Clarence, Illinois for his own

crimes. None of this evidence is within the scope of Rule 404(b); all of it is admissible on

the completely independent basis of showing that Hari knew what he was doing was

criminal, and that he feared apprehension. This evidence is admissible to show Hari’s

consciousness of guilt. “. . . [T]he fact of an accused’s flight, escape from custody,

resistance to arrest, concealment, assumption of a false name, and related conduct, are

admissible as evidence of consciousness of guilt, and thus of guilt itself.” United States v.

Clark, 45 F. 3d 1247, 1250 (8th Cir. 1995) (quoting 2 Wigmore, Evidence § 276, at 122

(James H. Chadbourn rev. 1979)). United States v. Barnes, 140 F.3d 737, 738 (8th

Cir.1998) (“Evidence of flight or escape is admissible and has probative value as evidence

of consciousness of guilt”).

       1.     The government will introduce evidence that on or about February 18, 2018

defendant Hari tried to frame his neighbors in Clarence, Jon and Hope O’Neill, for

possession of explosives, and tried to make it appear the O’Neills intended to use

explosives to commit a hate crime.        It was of course Hari himself who possessed


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explosives, and Hari himself who used explosives to commit a hate crime. The attempted

framing of the O’Neill’s is evidence of consciousness of guilt, and of intent.

       2.     The government will introduce evidence that on February 27, 2018 defendant

Hari fled from law enforcement when he observed federal agents conducting interviews in

Clarence, Illinois. Defendant Hari and his co-conspirators Michael McWhorter, Joe

Morris, and Ellis “E.J.” Mack lived rough until March 10, 2018, when they returned to

Clarence, Illinois.

       3.     The government will introduce evidence that on February 13, 2019, while

being transported from Illinois to Minnesota by the U.S. Marshals’ Service, defendant Hari

attempted to escape from custody. The escape attempt occurred outside the Grady County

Correctional Facility. Grady County is near Oklahoma City, Oklahoma. The U.S.

Marshals’ Service often uses Oklahoma City as a hub for federal inmates who are being




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transported from one part of the country to another. Defendant Hari jumped from a van

when it stopped to take on additional inmates for transport from Grady County to

Oklahoma City. Because Hari fell, he was quickly apprehended, and the Marshals’ Service

completed his transport to Minnesota.



Dated:       January 30, 2020                 Respectfully submitted,

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                                              s/ John Docherty

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